      Case 1:14-cv-05668-RRM-RER Document 23 Filed 06/10/15 Page 1 of 1 PageID #: 418
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Eastern District
                                             __________         of of
                                                         District  New  York
                                                                      __________


                MUCHMORE!S CAFÉ, LLC                           )
                             Plaintiff                         )
                                v.                             )      Case No.     14-cv-05668 (RRM)
                THE CITY OF NEW YORK                           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Amici Curiae Social Dancers                                                                                  .


Date:          06/09/2015                                                               /s/ Jerry S. Goldman
                                                                                          Attorney’s signature


                                                                                    Jerry S. Goldman (JG-8845)
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